Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 1 of 21




             EXHIBIT 7
Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 2 of 21
        Case 3:21-cv-06118-JD     Document 72-8            Filed 10/04/22       Page 3 of 21




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     Case 3:21-cv-06118-JD    Document 72-8      Filed 10/04/22   Page 4 of 21




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Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 5 of 21
Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 6 of 21
            Case 3:21-cv-06118-JD                                  Document 72-8                         Filed 10/04/22
                                                                                                                !                           Page 7 of 21




September 2, 2022                                                                                                Allen & Overy LLP
                                                                                                                 1221 Avenue of the Americas
                                                                                                                 New York, NY 10020
BY ELECTRONIC CASE FILING
                                                                                                                 Tel               212 610 6300
Honorable Andrew L. Carter, Jr.                                                                                  Fax               212 610 6399
                                                                                                                 Direct line       212 756 1130
United States District Court
                                                                                                                 todd.fishman@allenovery.com
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 435
New York, New York 10007

             Re:           Messieh v. HDR Global Trading Ltd. et al., No. 1:20-cv-3232 (ALC)

Dear Judge Carter:

        We represent HDR Global Trading Limited, ABS Global Trading Limited, 100x
Holdings Limited, Shine Effort Inc Limited and HDR Global Services (Bermuda) Limited in the
referenced action.1 We write on behalf of Defendants to respond to the motion of Kyle Roche,
                                              ounsel in this action. (Dkt. 105.) Though it is not
customary for counsel to take a position on such matters, we believe it is important to bring to
the attention of the Court certain publicly-reported information that, we believe, provides greater

information, including information that calls into question representations made to this Court as
                                                 to be appointed as interim class counsel, we
request that the Court reconsider its prior Order appointing Roche Freedman LLP as interim
class counsel.

                                                   report published by the Crypto Leaks website
on August 26, 2022 that includes a series of video clips in which Mr. Roche, a founding partner
of the Roche Freedman firm, makes a number of statements about his financial interest in Ava
Labs, a blockchain platform, and his misuse of class action litigation.2 Among other things, Mr.
Roche states that:
1
  The individual defendants in this action are Ben Delo, Arthur Hayes, Samuel Reed and Greg Dwyer,
each represented by separate counsel.
2
  Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche
Freedman, CRYPTO LEAKS (Aug. 26, 2022), available at https://cryptoleaks.info/case-no-3
[https://perma.cc/N433-63SC].


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the members of Allen & Overy LLP and their professional qualifications is open to inspection at its registered office, One Bishops Square, London, E1 6AD and at the above
address. The term partner is used to refer to a member of Allen & Overy LLP or an employee or consultant with equivalent standing and qualifications.
Allen & Overy LLP or an affiliated undertaking has an office in each of: Abu Dhabi, Amsterdam, Antwerp, Bangkok, Beijing, Belfast, Boston, Bratislava, Brussels, Budapest,
Casablanca, Dubai, Düsseldorf, Frankfurt, Hamburg, Hanoi, Ho Chi Minh City, Hong Kong, Istanbul, Jakarta (associated office), Johannesburg, London, Los Angeles, Luxembourg,
Madrid, Milan, Moscow, Munich, New York, Paris, Perth, Prague, Rome, San Francisco, São Paulo, Seoul, Shanghai, Silicon Valley, Singapore, Sydney, Tokyo, Warsaw,
Washington, D.C. and Yangon.
       Case 3:21-cv-06118-JD          Document 72-8        Filed 10/04/22
                                                                  !             Page 8 of 21




           He owns approximately 1% of the
           Ava Labs, as well as 1% of the equity in Ava Labs. Based on current
           estimates of AVAX tokens, it is possible that this financial interest is worth
           tens of millions of dollars.

           He agreed with a statement that he uses




           making sure that . . . the SEC and the CF

In addition, Mr. Roche describes members of putative plaintiff classes whom he seeks to

all the money that happens in

        In a statement, Mr. Roche has characterized
                                                             3
edited video clips that are not pr                              Mr. Roche, however, does not
deny that the reported statements were in fact made. Moreover, taken at face value, those
statements contradict a series of statements ma                      to appoint interim class
counsel. For example, Mr. Roche asserted that
Class will be represented by a highly capable and

                                                   to fairly and adequately represent the interests

                                  ecently appointed as interim cl
action in this District against Bitfinex and Tether. (Dkt. 21 at 9.) Citing the Crypto Leaks report
                                                  rney, a motion has been made to remove Roche
Freedman LLP as counsel in that action as well. See In re Tether & Bitfinex Crypto Asset Litig.,
No. 19 Civ. 9236 (KPF) (S.D.N.Y.), Dkt. 230 (Aug. 31, 2022).

       In his motion to withdraw, Mr. Roche states                          involved in [Roche

Roche is a founder of Roche Freedman LLP and, based on his prior declaration (Dkt. 23-1 at 5),


       Accordingly, Defendants respectfully request
withdraw, the Court reconsider its prior Order appointing Roche Freedman LLP as interim class


3
  Crypto Lawyer Kyle Roche Withdraws From Tether, Bitfinex, TRON and BitMEX Lawsuits After
CryptoLeaks Scandal, COINBASE (Aug. 31, 2022), available at https://www.coindesk.com/business/
2022/08/31/crypto-lawyer-kyle-roche-withdraws-from-tether-bitfinex-tron-and-bitmex-lawsuits-after-
cryptoleaks-scandal.


                                                  2
      Case 3:21-cv-06118-JD       Document 72-8        Filed 10/04/22
                                                              !         Page 9 of 21




counsel. Removing the Roche Freedman firm would not prejudice Plaintiffs, as they would
remain represented by an experienced firm, Selendy Gay Elsberg PLLC.

                                    ideration of this matter.

                                          Respectfully submitted,

                                          /s/ Todd S. Fishman

                                          Todd S. Fishman



Copy: David C. Esseks
      All Counsel of Record (by ECF)




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Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 10 of 21
        Case 3:21-cv-06118-JD       Document 72-8 " Filed 10/04/22
                                                            !               Page 11 of 21




September 6, 2022



Via ECF

The Honorable Andrew L. Carter, Jr.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:      Messieh and Lee v. HDR Global Trading Limited, et al., No. 20-cv-3232 (ALC)

Dear Judge Carter:


Kyle Roche to withdraw as counsel in th
requesting that the Court remove Roche Freedma
counsel, ECF No. 106. Lead Plaintiff Drew Lee and Selendy Gay Elsberg both believe that Roche
                                                     on is not in the best interests of the class.1
Accordingly, on behalf of Lead Plaintiff Drew Lee and the class, we respectfully request that the
                                     atus as interim co-lead counsel. Selendy Gay Elsberg is ready
and willing to continue representing the class as interim lead counsel.

         Selendy Gay Elsberg first became aware of video recordings of Kyle Roche, a founding
and name partner of Roche Freedman, when those recordings were published online on August
26.2 In the recordings, Mr. Roche makes statements regarding the blockchain industry and his
approach to class action litigation. On August 31, 2022, Mr. Roche (though not Roche Freedman)
filed a motion to withdraw as counsel. ECF No. 106. On September 2, Defendants submitted a
letter asking the Court to terminate Roche Freedman as counsel for the class. ECF No. 106.

         Given the content of the reco                             . Roche, in an August 29, 2022
                                                         3

Freedman to withdraw as counsel to protect the interests of the class. Roche Freedman has refused
to withdraw.



1
  Selendy Gay Elsberg has provided Lead Plaintiff Messieh with a copy of this letter. As of the
filing of this letter with the Court, Mr. Messieh has not indicated his position on it.
2
 See Ava Labs (Avalanche) attacks Solana & cons SEC in evil conspiracy with bought law firm,
Roche Freedman, Crypto Leaks (Aug. 26, 2022), available at https://cryptoleaks.info/case-no-3.
3
    https://medium.com/@kyleroche/my-response-b691563c255b.
      Case 3:21-cv-06118-JD          Document 72-8 " Filed 10/04/22
                                                             !                  Page 12 of 21




         Selendy Gay Elsberg is not able to evaluate the credibility of Mr
concerning Ava Labs, AVAX tokens, or                                       rm or his financial interest
                                                      tinued involvement as counsel in the case is
contrary to the best interests of the class. Ro
would likely spawn significant discovery and motion practice as to the veracity and/or import of
the allegations. These issues are likely to unnecessarily distract from the merits of this dispute, and
can be avoided by the removal of Roche Freedman as class counsel. Lead Plaintiff Drew Lee joins
in this request that Roche Freedman be removed as class counsel. See Exhibit A (Declaration of
Drew Lee).

        Selendy Gay Elsberg is experienced and capable of serving as interim class counsel, with
expertise in litigation concerning digital assets. For example, Selendy Gay Elsberg has been
appointed as co-lead counsel in numerous class actions in this
allegations involve the technical details of dozens of different crypto-assets.

       To protect the interests of the putative class, we respectfully request that the Court
                                      nt as interim co-lead counsel.

Respectfully submitted,

s/ Jordan A. Goldstein
Jordan A. Goldstein
Oscar Shine
SELENDY GAY ELSBERG PLLC
1290 Sixth Avenue, 17th Floor
New York, NY 10104
jgoldstein@selendygay.com

Interim Lead Counsel and Attorneys for Plaintiffs and the Proposed Class




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Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 13 of 21
       Case 3:21-cv-06118-JD          Document 72-8        Filed 10/04/22
                                                                   ! !          Page 14 of 21
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York NY 10104
212.390.9000


Jordan Goldstein
Partner
212.390.9008
jgoldstein@selendygay.com


September 9, 2022


Via ECF

The Honorable Andrew L. Carter, Jr.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:      Messieh and Lee v. HDR Global Trading Limited, et al., No. 20-cv-3232 (ALC)

Dear Judge Carter:

        We write on behalf of Plaintiffs and the proposed class in response to the motion of Kyle
Roche to withdraw as counsel in this action, ECF No. 105, and Defendants’ response requesting
that the Court remove Roche Freedman LLP (“Roche Freedman”) as interim co-lead counsel, ECF
No. 106.

       On September 6, 2022, we submitted to the Court a declaration on behalf of Lead Plaintiff
Drew Lee requesting that the Court terminate Roche Freedman’s status as interim co-lead counsel.
ECF Nos. 107 & 107-1. Lead Plaintiff Brett Messieh now joins in Lead Plaintiff Lee’s request that
the Court terminate Roche Freedman’s status as interim co-lead counsel. See Exhibit A
(Declaration of Brett Messieh).

       In order to protect the interests of the proposed class, and for the reasons stated in our prior
correspondence and the declarations of the Lead Plaintiffs, we respectfully request that the Court
terminate Roche Freedman’s appointment as interim co-lead counsel and designate Selendy Gay
Elsberg PLLC as sole interim lead counsel.

Respectfully submitted,

s/ Jordan A. Goldstein
Jordan A. Goldstein
Oscar Shine
SELENDY GAY ELSBERG PLLC
1290 Sixth Avenue, 17th Floor
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jgoldstein@selendygay.com

Interim Lead Counsel and Attorneys for Plaintiffs and the Proposed Class
Case 3:21-cv-06118-JD   Document 72-8   Filed 10/04/22   Page 15 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page 16 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page 17 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page 18 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page #19 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page 20 of 21
Case 3:21-cv-06118-JD   Document 72-8 ! Filed 10/04/22
                                                ! !      Page 21 of 21
